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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 7
                                                             :
PARK PLACE DEVELOPMENT                                       : Case No. 21-10849 (CSS)
PRIMARY, LLC,1                                               :
                                                             : Objection Deadline:
                           Alleged Debtor.                   : July 22, 2021 at 4:00 p.m. (ET)
                                                               Hearing Date:
                                                             : August 18, 2021 at 11:00 a.m. (ET)
                                                             :
------------------------------------------------------------ x Re: D.I. 35

                RESPONSE AND LIMITED OBJECTION OF
             THE ALLEGED DEBTOR TO LENDERS’ MOTION
   FOR ENTRY OF AN ORDER DISMISSING THE INVOLUNTARY PETITION
PURSUANT TO 11 U.S.C. 707(a) AND 305(a) OR, IN THE ALTERNATIVE, GRANTING
  RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. 362(d)(1), (2)

         Park Place Development Primary, LLC (the “Alleged Debtor”), through its undersigned

counsel, hereby files this response and limited objection (the “Response”) to the Motion for Entry

of an Order Dismissing the Involuntary Petition Pursuant to 11 U.S.C. 707(a) and 305(a) or, in

the Alternative, Granting Relief from the Automatic Stay Pursuant to 11 U.S.C. 362(d)(1), (2) (D.I.

35) (the “Motion”)2 filed by Malayan Banking Berhad, New York Branch (the “Administrative

Agent”), as Administrative Agent for Malayan Banking Berhad, London Branch, Intesa Sanpaolo

S.P.A., New York Branch, Warba Bank K.S.C.P., and 45 Park Place Investments, LLC

(collectively with the Administrative Agent, the “Lenders”). In support of this Response, the

Alleged Debtor respectfully states as follows:




1
  The last four digits of the Alleged Debtor’s U.S. tax identification number is 1708. The address of the Alleged
Debtor’s corporate headquarters is: 31 West 27th Street, 9th Floor, New York, NY 10001.
2
  Capitalized terms used but not defined herein shall be ascribed the definitions set forth in the Motion.
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                                                   RESPONSE

I.       The Lenders’ Motion Should be Granted But Without Prejudice to the Alleged
         Debtor And With Prejudice as to the Petitioning Creditors

                  1.       Although the Alleged Debtor disagrees with various assertions3 in the

Motion, the Alleged Debtor joins in the Lenders’ ultimate requested relief of dismissal of the

Involuntary Petition either under section 707(a) or 305(a) of the Bankruptcy Code based on the

Petitioning Creditors’ bad faith and the Involuntary Petition lacking a valid bankruptcy purpose as

it was filed merely as a litigation tactic.

                  2.       The Lenders, however, request that the Involuntary Petition be dismissed

with prejudice,4 under section 349(a) of the Bankruptcy Code, as to not only the Petitioning

Creditors but also the Alleged Debtor. See Motion, ¶ 50. Specifically, the Lenders request that

the Alleged Debtor and Petitioning Creditors be prohibited from filing another petition under any

chapter of the Bankruptcy Code for six months after entry of an order dismissing the Involuntary

Petition (without first obtaining leave from this Court on notice to the Lenders). See Exh. A to

Motion, Proposed Order, ¶ 2.




3
  The Alleged Debtor’s issues with the Lenders’ factual assertions, include, but are not limited to, the July 2021
appraisal attached to the Casson Declaration and the Lenders’ assertions regarding the amount of outstanding debt
owed by the Alleged Debtor and the validity of the Lenders’ claim and lien. Further, the Alleged Debtor holds
substantial claims against the Lenders for, among other things, improperly failing to fund the loan. The Alleged
Debtor reserves all rights to object to the factual assertions by the Lenders in the Motion, either in this case or in
other actions between the parties.
4
  Based on the Motion, the Alleged Debtor believes that the Lenders are only seeking relief as to enjoin the Alleged
Debtor and Petitioning Creditors from filing a subsequent bankruptcy petition for the Alleged Debtor for six months
from entry of such order. As noted in Collier’s on Bankruptcy, a dismissal with prejudice technically relates to a
determination that the debtor is not entitled to a discharge and must be distinguished from a case where the order
merely prohibits the debtor from filing a petition for some period of time. See 3 COLLIER ON BANKRUPTCY P 349.02
(16th 2021) (“A dismissal with prejudice must be distinguished from an order prohibiting the debtor from filing a
bankruptcy case for some period of time in the future. . . . The latter does not affect whether particular debts can be
discharged, but determines whether the debtor has access to the bankruptcy court in the future.”). Thus, if the Court
grants the Lenders’ Motion with prejudice, the Alleged Debtor respectfully requests that the record and order be
clear that the only relief sought was with respect to the prohibition on filing for six months, and not a discharge
determination.
                                                          2
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                3.      The Lenders argue that the Court should order the dismissal with prejudice

to avoid a subsequent bankruptcy petition that would further prevent consideration of the Lenders’

Summary Judgment Motion in the Mortgage Foreclosure Action, which has been pending for more

than a year and within which the parties have expended significant resources to preserve the value

of the asset. See Motion, ¶ 51. The Lenders further argue that the Alleged Debtor has no

unencumbered assets to distribute (by virtue of the (disputed) appraisal demonstrating that the

secured loans are greater than the Property’s value) and, thus, any additional delay of the Mortgage

Foreclosure Action will decrease value, not maximize it for creditors. See id.

                4.      Pursuant to section 349(a) of the Bankruptcy Code, dismissal of a case does

not “prejudice the debtor with regard to the filing of a subsequent petition . . .[,]” “unless the court,

for cause, orders otherwise . . . .” 11 U.S.C. § 349(a) (emphasis added). Additionally, “[t]he

legislative history to section 349(a) indicates that ‘dismissal of an involuntary [case] on the merits

will generally not give rise to adequate cause so as to bar the debtor from further relief.’”

3 COLLIER ON BANKRUPTCY P 349.02 (16th 2021) (citing H.R. Rep. 595, 95th Cong., 1st Sess. 338

(1977), reprinted in App. Pt. 4(d)(i) infra; S. Rep. No. 989, 95th Cong. 2d Sess. 48

(1978), reprinted in App. Pt. 4(e)(i) infra).

                5.      The Lenders’ arguments about a further delay of the Mortgage Foreclosure

Action and the value of the Alleged Debtor’s assets compared to its secured debts clearly do not

exhibit “cause” to limit the Alleged Debtor’s legal and statutory right to file a bankruptcy petition.

Here, the Alleged Debtor did not file the Involuntary Petition. Therefore, the Alleged Debtor

should not have its own right to file a bankruptcy petition stripped away as a result of the actions

of the Petitioning Creditors—especially when the Alleged Debtor clearly disagrees with such

Petitioning Creditors’ actions as demonstrated by the Alleged Debtor’s pending Motion of the

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Alleged Debtor Pursuant to Sections 303 and 305 of the Bankruptcy Code for Dismissal of, or

Abstention from, the Involuntary Bankruptcy Petition (D.I. 31) (the “Alleged Debtor’s Motion to

Dismiss”). While the Alleged Debtor supports the dismissal of the Involuntary Petition with

prejudice as to the Petitioning Creditors, no one can predict the future and, if circumstances change

within the next six months, then there is always a chance that the Alleged Debtor may believe, at

that time, that a bankruptcy petition is in the best interests of its creditors. The Lenders should not

be able to use the Petitioning Creditors’ decision to unilaterally file an Involuntary Petition against

the Alleged Debtor as an opportunity to take away the Alleged Debtor’s right to file a bankruptcy

petition under the appropriate circumstances.

                  6.       The Lenders’ only support5 for this requested relief is In re Jer/Jameson

Mezz Borrower II, LLC, 461 B.R. 293, 304 (Bankr. D. Del. 2011). The Jer/Jameson case,

however, is easily distinguishable because it involved a voluntary petition filed by the debtor

itself—it did not involve an involuntary petition filed by petitioning creditors against an alleged

debtor. Furthermore, the Jer/Jameson court held that dismissal with prejudice was warranted when

the petition “was filed in bad faith and for no legitimate bankruptcy purpose[,]” id., but, in the case

at hand, the petition was not filed by the Alleged Debtor (and, thus, it cannot be found responsible

for there being no legitimate bankruptcy purpose underlying the petition) and no bad faith has been

alleged against the Alleged Debtor.

                  7.        The Lenders cite no authority or just cause in support of their request to

bar the Alleged Debtor from filing a subsequent bankruptcy. As to the Petitioning Creditors, the



5
  In a footnote, the Lenders also cite In re GVS Portfolio I B, LLC, 2021 Bankr. LEXIS 1513 (Bankr. D. Del. June 4,
2021), as an example of a case dismissed without prejudice by Your Honor due to bad faith, where the debtor then
filed a subsequent chapter 11 case in another jurisdiction, delaying a foreclosure sale. See Motion, fn. 5. Once again,
however, GVS was a voluntary case, not an involuntary case.
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Alleged Debtor believes the case should be dismissed with prejudice because just cause is

established by the bad faith filing of the Involuntary Petition by ineligible creditors using the filing

as a collection device and for improper forum shopping.

II.    Briefing and Argument on the Lenders’ Request for Relief from the Automatic Stay
       Should Only Occur if the Motions to Dismiss or Abstain are Denied

               8.      If the Court grants the Lenders’ Motion or the Alleged Debtor’s Motion to

Dismiss, the Lenders’ request for relief from the automatic stay will be moot. If the Involuntary

Petition is not dismissed, then the Alleged Debtor would mostly like convert this case to a chapter

11 case and would want the opportunity, at that time, to contest and address the Lenders’ stay relief

request. Therefore, the stay relief request should not be litigated unless and until the motions to

dismiss are denied and an order for relief on the Involuntary Petition is entered. Otherwise, the

parties will be forced to incur additional expenses not only researching and briefing the stay relief

issue, but also in taking discovery, which will be required as to the validity of the Lenders’ claim

and lien and the value of the Property.

               9.      Additionally, the hearing on August 18, 2021 is currently scheduled for only

two hours and as a non-evidentiary hearing. Therefore, the Alleged Debtor believes that the

August 18, 2021 hearing should act as a status conference on the stay relief motion, consistent

with Local Rule 4001-1(c)(iii) of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware. In this case, the Alleged Debtor

respectfully requests that, at such status conference (and only as necessary depending on the

Court’s ruling on the Motion and the Alleged Debtor’s Motion to Dismiss), the Court enter a

scheduling order establishing an appropriate discovery period and setting (i) a new objection




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deadline; (ii) a date by which the parties will exchange supporting documents and exhibits; (iii) a

date by which the parties must produce expert reports, and (iv) an evidentiary hearing date.

               WHEREFORE, the Alleged Debtor respectfully requests that the Court enter an

order dismissing the Involuntary Petition without prejudice as to the Alleged Debtor’s right to

file a subsequent bankruptcy petition. If the Court denies the Motion and enters an order for

relief on the Involuntary Petition, the Alleged Debtor respectfully requests that the Court

establish a scheduling order with respect to further proceedings on the Lenders’ request for relief

from the automatic stay.

                                     [Signature page follows]




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Dated: July 22, 2021            TROUTMAN PEPPER HAMILTON SANDERS LLP
       Wilmington Delaware
                                /s/ Marcy J. McLaughlin Smith
                                Marcy J. McLaughlin Smith (DE 6184)
                                Hercules Plaza, Suite 5100
                                1313 N. Market Street
                                Wilmington, Delaware 19801
                                Telephone: (302) 777-6500
                                Facsimile: (302) 421-8390
                                E-mail: marcy.smith@troutman.com

                                -and-

                                Gary W. Marsh (admitted pro hac vice)
                                600 Peachtree Street, NE
                                Suite 3000
                                Atlanta, GA 30308
                                Telephone: (404) 885-2618
                                Facsimile: (404) 962-6983
                                Email: gary.marsh@troutman.com

                                -and-

                                Brett D. Goodman (admitted pro hac vice)
                                875 Third Avenue
                                New York, NY 10022
                                Telephone: (212) 704-6000
                                Facsimile: (212) 704-5966
                                Email: brett.goodman@troutman.com

                                Counsel to Park Place Development Primary, LLC




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